Case 8:16-cr-00478-JSM-TGW Document 69 Filed 07/07/17 Page 1 of 5 PageID 227
Case 8:16-cr-00478-JSM-TGW Document 69 Filed 07/07/17 Page 2 of 5 PageID 228
Case 8:16-cr-00478-JSM-TGW Document 69 Filed 07/07/17 Page 3 of 5 PageID 229
Case 8:16-cr-00478-JSM-TGW Document 69 Filed 07/07/17 Page 4 of 5 PageID 230
Case 8:16-cr-00478-JSM-TGW Document 69 Filed 07/07/17 Page 5 of 5 PageID 231
